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                                   s                                                     ss                                           ks

         s

                               s       s       ss               s                                                 s

                 s                                      s

             s                                                                               y        s                           s

    ss                                                                                                    s   s

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s

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             s       s                                                  c        c            s                                        s

                                                    v                                    s                                    c

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                          y                                                                  N.                       x

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                                                                                                     s

    c

c               c             y       c                    s            c                s

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                                  s       c                    c                                                  s

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                              y                                                 s y




                                                       c
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                                       s                          s

s              s                                   c              s

                                                   s          s

c   s s    s               s           s ss                               sc

                   s                   s   s           s                       s

               ys              s               c                          c

                                                       c ss

    s                      s       s           c                      s   s

                   c   s               c                                           s



                       s       s                       s

                           s                                                       s
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                          s                         ss   s                 s

                                                                      cs

x           c
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                           s    s

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                  s                                                                                                              s

s             s                                                                          s

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    ss                c         ss        s                                                                                          rmat



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          z                                                                      s                        s

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                                     s                              s                            c            ss s                   s

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